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                 UNITED      STATES          DISTRICT    COURT

                 SOUTHERN        DISTRICT        OF   GEORGIA

                         STATESBORO DIVISION



ELIJAH NAHUM SIMMONS,                )
                                     )
       Movant,                       )
                                     )
v.                                       )    Case No.   CV613-112
                                     )                   CR610-001
UNITED STATES OF AMERICA,            )
                                     )
       Respondent.                   )

                                    ORDER


       Before the Court is the Magistrate Judge's recommendation that

Elijah Simmons' 28 U.S.C. § 2255 motion be granted and that he be

resentenced without a        career offender enhancement.            Doc.   315. *

According to the Report and Recommendation (R&R)-

     Simmons was sentenced [to 240 months] as a career offender under
     United States Sentencing Guidelines ("USSG") § 4B1.1 based upon
     two felony controlled substance offenses. (Presentence
     Investigation Report ("PSI") at 16.) The career offender
     enhancement pushed Simmons from a criminal history category of
     V to VI. (Id.) This moved his guideline range from 235-240 months
     to 240 months (the statutory maximum).

Id. at 2-3 (footnote omitted; emphasis added).

       Since the R&R's filing, however, a district judge sua sponte


1 All citations are to the criminal docket unless otherwise noted, and all page
numbers are those imprinted by the Court's docketing software.
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resentenced Simmons to 210 months based on an amendment to the drug

quantity sentencing guidelines that reduced base offense levels by two

(in Simmons' case, from 34 to 32). See docs. 332 & 332-1. That order

stated that Simmons' "original advisory guideline range was determined

based on the underlying drug quantity and his leadership role," not the

career offender enhancement.         Doc. 332-1 at l.2     Even after it applied

the guidelines amendment, the Court concluded that Simmons' "advisory

guideline range is still determined on the basis of the underlying drug

conduct and not on his status as a career offender."         Id.

      The Court erred. Although the drug quantity and leadership role

charged to Simmons drove the base offense level calculation (doc. 332-1
at l), overall guidelines range calculations also take into account an

offender's criminal history category. And Simmons' criminal history

qualified him for a career offender enhancement, which in fact increased

his criminal history category from V to VI. That, in turn, drove his

guidelines range higher. See PSI \ 55.

      For example, before application of the drug quantity amendment,


2 The Clerk is DIRECTED to unseal doc. 332-1. Although it contains a pre-printed
"not for public disclosure" header, in this case it contains no sensitive information
that merits sealing.
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Simmons' base offense level was 34, and with criminal history category

VI, his guidelines range was 262-327 months (capped at 240 months by

the statutory maximum). At category V, however, his range would have

been 235-293 months (again capped at 240).

     The same occurs after application of the amendment, which

reduced his base offense level from 34 to 32.         The Court applied

Category VI (hence, career offender enhancement) when it recently

resentenced Simmons using the new base offense level of 32.              That

produced a 210-262 month range (capped at 240). Category V (no career

offender enhancement), however, would have subjected Simmons to a

188-235 month range.    Relief under § 2255 therefore is not moot because

removal of the career offender enhancement would entitle him to

resentencing under the Category V (188-235 month) range.

     After a de novo review of the record, the Court concurs with the

Magistrate Judge's recommendation, which is adopted as the opinion of

the Court.   Simmons' § 2255 motion (doc. 169) is GRANTED.               The

United States Probation Officer who prepared Simmons' PSI is

DIRECTED to prepare a revised PSI removing the career offender

enhancement.    The Probation Officer shall simultaneously notify the
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deputy clerk, who will then schedule this matter for resentencing.

Finally, attorney James Mcllvaine shall continue to represent Simmons

in this matter.


     ORDER ENTERED, at Augusta, Georgia, this *23"0 day of
November, 2015.


                                                    lNDAL HALL
                                          STATES DISTRICT JUDGE
                                        [ERN DISTRICT OF GEORGIA
